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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

********************     *
E. S., a minor, by and through
                         *
her parents, TROY SWEATT and
                         *                         No. 15-1222V
BRITTANY SWEATT,         *
                         *                         Special Master Christian J. Moran
             Petitioner, *
                         *                         Filed: September 26, 2016
v.                       *
                         *                         Stipulation; measles-mumps-rubella
SECRETARY OF HEALTH      *                         (“MMR”) vaccine; idiopathic
AND HUMAN SERVICES,      *                         thrombocytopenic purpura (“ITP”).
                         *
             Respondent. *
******************** *

William E. Cochran, Jr., Black McLaren, et al., PC, Memphis, TN, for Petitioner;
Robert P. Coleman, III, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On September 23, 2016, the parties filed a joint stipulation concerning the
petition for compensation filed by E.S., a minor by and through her parents, Troy
Sweatt and Brittany Sweatt on October 20, 2015. In the petition, petitioners
alleged that the measles-mumps-rubella (“MMR”) vaccine, which is contained in
the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which E.S.
received on or about October 30, 2013, caused E.S. to develop idiopathic
thrombocytopenic purpura (“ITP”), and that E.S. experienced the residual effects
of this injury for more than six months. Petitioners represent that there has been no
prior award or settlement of a civil action for damages on behalf of E.S. as a result
of her alleged condition.

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         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Respondent denies that denies that the MMR vaccine is the cause of E.S.’s
alleged ITP, or any other injury.

      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       a. A lump sum of $45,000.00, which amount represents pain and
          suffering, in the form of a check payable to petitioners, Troy and
          Brittany Sweatt, as guardians/conservators of the estate of E.S.

       b. A separate lump sum of $2,613.00, which amount represents
          reimbursement for out-of-pocket expenses, in the form of a check
          payable to petitioners, Troy and Brittany Sweatt, in their individual
          capacity.

            These amounts represent compensation for all damages that would
            be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 15-1222V according to this decision
and the attached stipulation.2

     Any questions may be directed to my law clerk, Shannon Proctor, at (202)
357-6360.

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master



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          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                              )
E. S., a minor, by and through her parents,   )
TROY SWEATI and                               )
BRITTANY SWEATT,                              )
                                              )
               Petitioners,                   )
                                              )      No. 15-1 222V (ECF)
v.                                            )      Special Master Moran
                                              )
SECRETARY OF HEALTH                           )
AND HUMAN SERVICES,                           )
                                              )
               Respondent.                    )


                                        STIPULATION

       The parties hereby stipulate to the following matters:

       1. On behalf of their minor daughter, E.S., petitioners filed a petition for vaccine

compensation under the National Vaccine Inj ury Compensation Program, 42 U .S.C. § 300aa- 10

to 34 (the " Vaccine Program"). T he petition seeks compensation for injuries allegedly related to

E.S. 's receipt of the measles-mumps-rubella ("MMR") vaccine, which vaccine is contained in

the Vaccine Injury Table (the "Table"), 42 C.F.R. § 100.3(a).

       2. E.S. received MMR; varicella; diphtheria, tetanus, and pertussis; haemophilus

influenza type b; and influenza vaccines on or about October 30, 2013.

       3. The vaccines were administered within the United States.

       4. Petitioners allege that the MMR vaccine caused E .S. to develop idiopathic

thrombocytopenic p urpura ("ITP"), and that E.S. experienced the residual effects of this injury

for more than six months.
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        5. Petitioners represent that there has been no prior award or settlement of a civil action

for damages on behalf of E.S. as a result of her alleged condition.

        6. The Secretary of Health and Human Services (''respondent") denies that the MMR

vaccine is the cause of E.S. 's alleged ITP, or any other injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioners have filed an election to receive compensation

pursuant to 42 U .S.C. § 300aa-2 l (a)(l ), respondent will issue the following vaccine

compensation payment:

        A lump sum of $45,000.00, which amount represents pain and suffering, in the form of a
        check payable to petitioners, as guardians/conservators of the estate of E.S. A separate
        lump sum of $2,613.00, which amount represents reimbursement for out-of-pocket
        expenses, in the form of a check payable to petitioners in their individual capacity. These
        amounts represent compensation for all damages that would be available under 42 U.S.C.
        § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioners have filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        10. Petitioners and their attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa- l 5(g), including State compensation programs, insurance policies,




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Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et. Seq.)), or entities that provide health services on a pre-paid basis.

        11. Payment made pursuant to paragraph 8 of this Stipulation, and any amount awarded

pursuant to paragraph 9, will be made in accordance with 42 U.S.C. § 300aa-15(i), subject to the

availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of E.S. as contemplated by a strict

construction of 42 U .S.C. § 300aa- l 5(a) and (d), and subject to the conditions of 42 U.S.C. §

300aa- l 5(g) and (h).

        13 . Petitioners represent that they presently are, or within 90 days of the date of

judgment will become, duly authorized to serve as guardians/conservators of E.S .'s estate under

the laws of the State of Tennessee. No payments pursuant to this Stipulation shall be made until

petitioners provide respondent with documentation establishing their appointment as

guardians/conservators of E.S.' s estate. If petitioners are not authorized by a court of competent

j urisdiction to serve as guardians/conservators of the estate of E.S. at the time a payment

pursuant to this Stipulation is to be made, any such payment shall be paid to the party or parties

appointed by a court of competent j urisdiction to serve as guardians/conservators of the estate of

E.S. upon submission of written documentation of such appointment to respondent.

        14. In return for the payments described in paragraph 8, and any amount awarded

pursuant to paragraph 9, petitioners, in their individual capacities and as legal representatives of

E.S., on behalf of themselves, E.S., and their heirs, executors, administrators, successors or

assigns, do forever irrevocably and unconditionally release, acquit and discharge the United



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States and respondent from any and all actions or causes of action (including agreements,

judgments, claims, damages, loss of services, expenses and all demands of whatever kind or

nature) that have been brought, could have been brought, or could be timely brought in the Court

of Federal Claims, under the National Vaccine Injury Compensation Program, 42 U.S.C. §

300aa-10 et seq., on account of, or in any way growing out of, any and all known or unknown,

suspected or unsuspected personal injuries to or death of E.S. resulting from, or alleged to have

resulted from, any of the vaccinations administered on or about October 30, 2013, as alleged by

petitioners in a petition for vaccine compensation filed on or about October 20, 2015 , in the

United States Cou11 of Federal Claims as petition No. 15-1222V.

        15. If E.S. should die prior to entry of judgment, this agreement shall be voidable upon

proper notice to the Court on behalf of either or both of the parties.

        16. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or ifthe Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        17. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability or amount

of damages, and further, that a change in the nature of the injury or condition or in the items of

compensation sought, is not grounds to modify or revise this agreement.



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        18. This stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the MMR vaccine caused E.S.'s alleged ITP, any

other injury, or her current disabilities.

        19. All rights and obligations of petitioners hereunder shall apply equally to petitioners'

heirs, executors, administrators, successors, and/or assigns as legal representatives of E.S.

                                       END OF STIPULATION




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Respectfully submitted,

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TROY iWEATT, on behalof E.S.

PETITIONER:




ATTORNEY OF RECORD FOR                            AUTHORIZED REPRESENTATCVE
PETITIONER:                                       OF THE ATTORNEY GENERAL:



           E. COCHRAN, J
Black McLaren Jones Rylan & Griffee, P.C.
                                                  ~EV;;
                                                  Acting Deputy Director
530 Oak Court Drive, Suite 360                    Torts Branch
Memphis, TN 3 8117                                Civil Division
(901) 762-0535                                    U.S. Department of Justice
                                                  P.O. Box 146
                                                  Benjamin Franklin Station
                                                  Washington, DC 20044-0146


AUTHORIZED REP&..._..,...,.                       ATTORNEY OF RECORD FOR
OF THE SECRETA                                    RESPONDENT:
AND HUMAN



NA
Acting Director, Division of Vaccine              Trial Attorney
Injury Compensation (DVIC), Acting Director       Torts Branch
Countermeasures Injury Compensation               Civil Division
Program (CICP)                                    U.S. Department of Justice
Healthcare Systems Bureau, U.S. Department        P.O. Box 146
Of Health and Human Services                      Benjamin Franklin Station
5600 Fishers Lane                                 Washington, DC 20044-0146
Parklawn Building, Mail Stop 11 C-26              (202) 305-0274
Rockville, MD 20857




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